   Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 1 of 27




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: KATRINA CANAL BREACHES             *                 CIVIL ACTION
CONSOLIDATED LITIGATION                   *                 NO. 05-4182 “K”(2)
                                          *                 JUDGE DUVAL
_________________________________________ *                 MAG. WILKINSON
                                          *
PERTAINS TO:                              *
ST. RITA (Kenney) 06-7355                 *
                                          *
_________________________________________ *


                  MOTION FOR LEAVE TO FILE REPLY
        TO PLAINTIFF’S OPPOSITION TO THIRD-PARTY DEFENDANT
  LAKE BORGNE BASIN LEVEE DISTRICT RULE 12(B)(6) MOTION TO DISMISS


   NOW INTO COURT, through undersigned counsel, comes Third-Party Defendant, Lake

Borgne Basin Levee District (“LBBLD”), which respectfully requests an Order from this

Honorable Court granting leave to Third-Party Defendant to file the Reply To Plaintiff’s

Opposition To Third-Party Defendant Lake Borgne Basin Levee District Rule 12(B)(6) Motion

To Dismiss, attached hereto as Exhibit “A.” Third-Party Defendant submits that there is good

cause for this Honorable Court’s granting Third-Party Defendant leave to file its Reply, as the

Reply Brief further clarifies the legal standards governing the dispute between the parties. The




                                                1
   Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 2 of 27




issue before the Court will be decided on the briefs, thus leave to file the Reply Brief will not

delay these proceedings.

                                              Respectfully submitted,

                                              DUPLASS, ZWAIN, BOURGEOIS, MORTON,
                                              PFISTER & WEINSTOCK

                                              s/ Lawrence J. Duplass

                                              _________________________________________
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                                              LAKE BORGNE BASIN LEVEE DISTRICT

                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of November, 2006, a copy of the foregoing Rule

12(b)(6) Motion to Dismiss for Failure to State a Claim Upon Which Relief Can Be Granted was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to the following individuals by operation of the court’s electronic filing system.

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Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 3 of 27




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                                         3
Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 4 of 27




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Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 6 of 27




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Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 10 of 27




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Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 11 of 27




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                                       11
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                                       12
Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 13 of 27




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Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 14 of 27




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                                        14
Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 15 of 27




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Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 16 of 27




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Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 17 of 27




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                                         17
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                                          22
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  Case 2:05-cv-04182-SRD-JCW Document 1913-3 Filed 11/30/06 Page 27 of 27




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                                         27
